Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 1 of 18 PageID #:20




                                                        EXHIBIT A
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 2 of 18 PageID #:21
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 3 of 18 PageID #:22
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 4 of 18 PageID #:23




                                                        EXHIBIT B
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 5 of 18 PageID #:24
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 6 of 18 PageID #:25
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 7 of 18 PageID #:26
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 8 of 18 PageID #:27
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 9 of 18 PageID #:28
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 10 of 18 PageID #:29
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 11 of 18 PageID #:30
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 12 of 18 PageID #:31
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 13 of 18 PageID #:32
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 14 of 18 PageID #:33
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 15 of 18 PageID #:34
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 16 of 18 PageID #:35
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 17 of 18 PageID #:36
Case: 1:17-cv-09286 Document #: 1-1 Filed: 12/27/17 Page 18 of 18 PageID #:37
